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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

  In re:                                 )       Chapter 11
                                         )
  BCause Mining LLC,                     )
                                         )       Judge Janet S. Baer
  Debtor/Debtor-in-Possession.           )
                                         )       Case No. 19-10562
                                         )       Jointly Administered

                                NOTICE OF MOTION

 TO:       ATTACHED SERVICE LIST

        PLEASE TAKE NOTICE that on the 13th day of August, 2019, at 9:30 a.m.,
 or soon thereafter as counsel can be heard, I shall appear before the Honorable
 Janet S. Baer, Bankruptcy Judge, in the room usually occupied by her as
 Courtroom 615 in the United States Bankruptcy Court in the Everett McKinley
 Dirksen Federal Building, 219 S. Dearborn Street, Chicago, Illinois, or before any
 other Judge who may be sitting in her place and stead and shall present the
 Motion for Authority to Reject IT Services Agreement and for Other Relief, a
 copy of which is attached hereto and herewith served upon you, and shall pray for
 the entry of an Order in compliance therewith.

           AT WHICH TIME and place you may appear if you so see fit.

                                                      /s/Scott R. Clar
                                                      Crane, Simon, Clar & Dan
                                                      135 S. LaSalle St., # 3705
                                                      Chicago, Illinois 60603
                                                      (312) 641-6777

                             CERTIFICATE OF SERVICE

        The undersigned, being first duly sworn on oath deposes and states that he
 caused a copy of the foregoing Notice and attached Motion to be served via the
 Court’s Electronic Registration (ECF)/email (as indicated) on all parties listed on
 the attached Service List on the 8th day of August, 2019.

                                                              /s/Scott R. Clar




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                                      SERVICE LIST

Via Court’s Electronic Registration:
   Patrick S. Layng                             J. Mark Fisher
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 Nasdaq
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                    )   Chapter 11
                                           )
 BCause Mining LLC,                        )
                                           )   Judge Janet S. Baer
 Debtor/Debtor-in-Possession.              )
                                           )   Case No. 19-10562
                                           )   Jointly Administered

                   MOTION FOR AUTHORITY TO REJECT IT SERVICES
                        AGREEMENT AND FOR OTHER RELIEF

          BCause LLC, a Virginia limited liability company, debtor/debtor-in-possession

herein (“Debtor”), by and through its attorneys, makes its Motion for Authority to Reject

IT Services Agreement and for Other Relief (“Motion”), pursuant to Section 365 of the

Bankruptcy Code, and in support thereof, respectfully states as follows:

                                      INTRODUCTION

          1.    On April 12, 2019, the Debtor filed its voluntary petition for relief under

Chapter 11 of the Bankruptcy Code (“Petition Date”).

          2.    The Debtor has been operating its business and managing its financial

affairs as debtor-in-possession since the Petition Date. No trustee, examiner or

committee of unsecured creditors has been appointed in the Debtor’s Chapter 11 case.

          3.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections

157 and 1334.

          4.    This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.

Section 157(b)(2)(A), (M) and (O).

          5.    The statutory predicate for the relief requested in this Motion is Section

365(g) of the Bankruptcy Code.

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       6.     By this Motion, the Debtor requests that this Court authorize it to reject a

certain IT Services Agreement with Nasdaq Technology AB and the Debtor for certain IT

services (the “Nasdaq Agreement”). A copy of the Nasdaq Agreement is attached hereto

as Exhibit A. In addition, the Debtor seeks authority, to the extent necessary, to assign

any obligation under the Nasdaq Agreement to BCause Secure, under the terms of an

amendment to the IT Services Agreement dated March 23, 2018, between the Debtor

and Nasdaq (the “Amended Nasdaq Agreement”). A copy of the Amended Nasdaq

Agreement is attached hereto as Exhibit B.

                              Relevant Factual Background

       7.     The Debtor, BCause Mining LLC, is a limited liability company formed in

the Commonwealth of Virginia in 2013. The Debtor, BCause LLC, is a holding company

that wholly owns and is the only member of BCause Mining LLC (“Mining”) (formed in

2017); BCause Spot LLC (2017); BCause Derivatives LLC (2017); BCause Clear LLC

(2017); BCause Secure LLC (2018); and BCause Trust, Inc. (2018), each also formed in

the Commonwealth of Virginia. Each entity is in good standing in Virginia. The Debtor

has operations in Virginia Beach, VA and in Chicago, IL and employs 27 full-time and 4

part-time employees.

       8.     The Debtor is building a full-stack cryptocurrrency ecosystem which is

intended to be a venue that will serve as a one-stop shop for all parts of the digital

currency value chain. The various subsidiary entities are intended to serve professional

traders, institutional investors, retail traders, and bitcoin miners. No entity other than

Mining and the Debtor are currently operating.




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       9.     The Debtor provides a state of the art mining facility in Virginia Beach,

Virginia, and maintains offices located at 130 S. Jefferson Street, Suite 101, Chicago,

Illinois, 60661, and 192 Ballard Court, Virginia Beach, Virginia.

       10.    Both the Debtor and Mining’s Chapter 11 filings were triggered by a

judgment entered in favor of WESCO in the approximate amount of $1,300,000 and a

garnishment of the Debtor’s bank account, from which all of the Debtor’s and Mining’s

bills are paid, including bills for utilities such as Dominion Energy, which had threatened

a shut-off of Mining’s utilities for non-payment, as of April 12, 2019.

                           The Amended Nasdaq Agreement

       11.    Under the Amended NASDAQ Agreement, the Debtor, Nasdaq and

BCause Secure agree as follows:

      a.     NASDAQ agrees to assign the current amount owed by Holdings of
$804,070.14 to BCause Secure;

      b.     NASDAQ agrees to relicense all of the software currently licensed by
Holdings to BCause Secure;

      c.     NASDAQ agrees to accept quarterly payments for the “payment due upon
acceptance” from BCause Secure; and

       d.     NASDAQ agrees to accept quarterly payments for required support.

                                     Relief Requested

       12.    Rejection of the Nasdaq Agreement and, to the extent necessary,

authority to assign debts under the Nasdaq Agreement to BCause Secure under the

Amended Nasdaq Agreement will significantly reduce the Debtor’s liabilities, both pre

and post-petition.

       13.    The Debtor requests the entry of an order authorizing it to reject the

Nasdaq Agreement, and, to the extent necessary, authorizing there Debtor to assign

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any and all obligations under the Nasdaq Agreement, pursuant to the Amended Nasdaq

Agreement, to BCause Secure.

       14.    Rejection of the Nasdaq Agreement is in the best interest of the Debtor’s

estate and its creditors for the reason that liabilities and expenses will be eliminated.

       WHEREFORE, BCause LLC, a Virginia limited liability company, debtor/debtor-in-

possession, prays for the entry of an order rejecting the IT Services Agreement between

BCause LLC and Nasdaq dated March 23, 2018, authorizing BCause LLC to assign any

and all debts under the Nasdaq Agreement to BCause Secure, LLC, pursuant to the

Amended Nasdaq Agreement, and granting such other relief as this Court deems just and

equitable.

                                                  BCause LLC, a Virginia limited
                                                  liability company,

                                                  By:/s/Scott R. Clar
                                                      One of its Attorneys


DEBTORS’ COUNSEL:
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312-641-6777
W:\mjo2\BCause Mining LLC\Reject IT Agreement.mot and NOM




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